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 1     SEALEDs/ 2994



 2   ORDERED UNSEALED on 05/31/2022 s/ AmyC
 3                                  UNITED STATES DISTRICT COURT
 4                             SOUTHERN DISTRICT OF CALIFORNIA
 5    UNITED STATES OF AMERICA,                      Case No. 22MJ1853-AGS
 6                     Plaintiff,                    COMPLAINT FOR VIOLATION OF
 7                                                             (First Amended)
                       v.
 8    JOHNATHAN RYAN MCGUIRE,                        Title 18, U.S.C., Sec. 875(c) – Threats in
                                                     Interstate Commerce
 9                     Defendant.
10
           The undersigned complainant being duly sworn states:
11
                                                Count 1
12
           On or about May 3, 2022, within the Southern District of California, defendant
13
     JOHNATHAN RYAN MCGUIRE, knowingly and willfully did transmit in interstate
14
     commerce from California to the District of Columbia, a communication via phone call and
15
     voice mail to United States Senator Charles Schumer and the communication contained a
16
     threat to injure Senator Schumer, specifically to kill him; all in violation of Title 18, United
17
     States Code Section 875(c).
18
           The complainant states that this complaint is based on the attached Probable Cause
19
     Statement, which is incorporated herein by reference. This first amended complaint corrects
20
     the spelling of Columbia and a date in the Probable Cause Statement.
21
22
23                                                  Special Agent Andrew Patrick
                                                    Federal Bureau of Investigation
24
25 Sworn and attested to under oath by telephone, in accordance with the requirements of
26 Federal Rule of Criminal Procedure 4.1 on this 26th day of May, 2022.
27
28
                                                    HON. KAREN S. CRAWFORD
                                                    United States Magistrate Judge
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 1
                                  PROBABLE CAUSE STATEMENT
 2
                      I, Andrew Patrick, being duly sworn, declare and state as follows:
 3
                                                  Introduction
 4
            1.      I am a federal “Law Enforcement Officer of the United States” within the
 5
     meaning of Title 18, United States Code, Section 2510(7), who is empowered by law to
 6
     conduct investigations of, and to make arrests for, offenses enumerated in Title 18, United
 7
     States Code.
 8
            2.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and have
 9
     been so employed since December 2005. 1 I am currently assigned to the Border Corruption
10
     Task Force of the San Diego Field Office where I investigate various crimes that include,
11
     but are not limited to, corruption of Border Officials, Drug Trafficking and Alien
12
     Smuggling.
13
            3.      I completed approximately nineteen weeks of training at the FBI Academy in
14
     Quantico, Virginia. During the training, I received instruction in a variety of investigative
15
     techniques commonly used in support of a wide range of the FBI’s investigative priorities.
16
     The training included instruction regarding the use of confidential human sources,
17
     electronic and physical surveillance techniques, law enforcement tactics, search and seizure
18
     laws and techniques, interviewing strategies and skills, and a variety of other subjects.
19
     During the course of my career with the FBI, I have investigated various crimes that include,
20
     but are not limited to violent gangs, fugitives, commercial robberies, bank robberies,
21
     kidnappings, extortions, assaults on federal officers, crimes aboard aircraft and other airport
22
     crimes.
23
            4.      Prior to becoming a Special Agent with the FBI, I worked as a Naval Special
24
     Warfare Officer (SEAL) in the United States Navy.
25
26
27
     1
            In the Probable Cause Statement to the original complaint, this date was inadvertently reported as
28 December 1995. The correct date is December 2005.
                                                   2
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 1         5.    My training and experience as a Special Agent, my participation in
 2 investigations, and my interactions with other agents, as well as with other state and local
 3 law enforcement officers familiar with violent crimes, form the basis of the opinions and
 4 conclusions set forth below, which I have drawn from the facts set forth herein. The facts
 5 are set forth in substance not verbatim, unless otherwise noted.
 6         6.    This affidavit and probable cause statement are made in support of a criminal
 7 complaint against JOHNATHAN RYAN MCGUIRE for a violation of Title 18 United
 8 States Code, Section 875 (c): Threats in Interstate Commerce (the “Subject Offense”).
 9         7.    The facts set forth in this probable cause statement are based upon my training
10 and experience, review of reports prepared by local law enforcement, review of social
11 media, and information obtained from various law enforcement personnel. This probable
12 cause statement is intended to show that there is sufficient probable cause for the requested
13 criminal complaint and does not purport to set forth all my knowledge of the investigation
14 into this matter. Unless specifically indicated otherwise, all conversations and statements
15 described below are related in substance and in part only, and all dates and times are
16 approximate.
17                                        Probable Cause
18         8.    On May 3, 2022, U.S. Capital Police (USCP) Threat Assessment Section
19 (TAS) was notified by staff from U.S. Senator Charles Schumer’s Washington, D.C. office
20 of a threatening voicemail from the (760) 686-6657 received on May 3, 2022 at
21 approximately 2:45 p.m. The voicemail was transcribed as follows: “Yeah, you guys are
22 real upset huh? You can't murder babies anymore, you fucking evil pile of shit. If I ever get
23 an opportunity, I'll blow your fucking head off you fucking Jew faggot! You baby killing
24 motherfucker. You are an abomination, you fucking faggot, send some bullets your way,
25 motherfucker!” I have reviewed the audio recording of the voicemail and found it consistent
26 with the transcription above.
27         9.    T-Mobile records revealed that telephone number 760-686-6657 was
28 subscribed to JOHNATHAN RYAN MCGUIRE at address 757 Sherwood Drive,
                                                 3
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 1 Oceanside, California.        California Department of Motor Vehicle records confirmed
 2 MCGUIRE’s association to the 757 Sherwood Drive address. Specifically, the 757
 3 Sherwood Drive address was listed on MCGUIRE’s current California Driver’s license and
 4 MCGUIRE has a vehicle registered in his name at the 757 Sherwood Drive address.
 5          10. Between approximately June 2019 and April 2021, the USCP has documented
 6 numerous threats by MCGUIRE to various members of U.S. Congress and a USCP Officer.
 7 These prior documented threats were transmitted via telephone and email.
 8          11. A review of law enforcement databases indicated that MCGUIRE has two
 9 registered firearms in his name that were purchased in September 2020 and May 2021.
10                                       Request For Sealing
11         It is further respectfully requested that this Court issue an Order sealing, until further
12 order of this Court, all papers submitted in support of this complaint, including the probable
13 cause statement and arrest warrant. Sealing is necessary because premature disclosure of
14 the contents of this probable cause statement and related documents may cause the
15 defendant to flee, may cause destruction of evidence, or otherwise have a negative impact
16 on this continuing investigation.
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